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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                  CASE NO. CR05-231C
              v.
12                                                                  ORDER
      GEORGE WEGERS, et al.,
13
                             Defendants.
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            On July 11, 2005, this Court held a hearing on Defendants Jimmie Garman, George Wegers, and
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     Bernard Ortman’s Motions for Review of Detention Orders (Dkt. Nos. 126, 158, 188). Pursuant to
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     United States v. Koenig, 912 F.2d 1190 (9th Cir. 1990), the Court has conducted a de novo review of the
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     facts and hereby finds and rules as follows:
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            Defendants are named in a twenty count Indictment brought against several individuals who are
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     alleged to be leaders and/or members of the Bandidos organization. The Indictment alleges that the
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     Bandidos organization is a criminal organization whose members and associates engaged in acts of
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     violence, including kidnaping, assault, threats of violence, and extortion in the United States and
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     elsewhere. The Bandidos organization is alleged to constitute a criminal enterprise as defined in Title 18
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     U.S.C. § 1959(b)(2).
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26   ORDER – 1
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 1          A. Jimmie Garman

 2          Defendant Garman has been indicted on one count of Conspiracy to Tamper with Witnesses. The

 3   Government alleges that the act Defendant Garman committed was made in furtherance of a conspiracy

 4   to intimidate a witness to an alleged assault by other members of the Bandidos organization. The

 5   Government further contends that Defendant Garman is a National Sergeant-at-Arms for the Bandidos

 6   organization and that, as such, he has authority to order retaliation against other members of the

 7   organization. Additionally, during a search of Defendant Garman’s residence, the Government recovered

 8   over 30 guns, at least five of which were loaded.

 9          The Court finds that Defendant Garman poses a danger to the community based on the nature of

10   the current charges, the presence of loaded weapons in his house, and the particular position of leadership

11   he holds in the Bandidos organization. Accordingly, the Court finds that there is no condition or

12   combination of conditions that will reasonably assure Defendant Garman’s appearance at future Court

13   hearings while addressing the danger he poses to the community. Magistrate Judge Theiler’s Detention

14   Order (Dkt. No. 126) is hereby AFFIRMED.

15          B. George Wegers

16          Defendant Wegers has been indicted on three counts: Conspiracy to Tamper with Witnesses,

17   Conspiracy to Traffic in Certain Motor Vehicle and Motor Vehicle Parts, and Trafficking in a Certain

18   Motor Vehicle. The Government alleges that Defendant Wegers is the National and International

19   President for the Bandidos organization. As such, Defendant Wegers has the authority to order

20   intimidation of witnesses and violence against others.

21          The Government reports that during a search of Defendant Wegers’ residence, it recovered four

22   loaded firearms. Defendant notes that another individual has claimed that the weapons belong to him,

23   rather than to Defendant. Further, arresting agents report that they recovered approximately 34 knives

24   from Defendant Wegers’ residence.

25          The Court finds that Defendant Wegers poses a risk of nonappearance based on his international

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 1   ties to the Bandidos organization and lack of verified background information. He also poses a danger to

 2   the community based on the nature of the current charges, the presence of weapons in his residence, and

 3   the particular position of leadership he holds in the Bandidos organization. Accordingly, the Court finds

 4   that there is no condition or combination of conditions that will reasonably assure Defendant Wegers’

 5   appearance at future Court hearings while addressing the danger Defendant poses to the community.

 6   Magistrate Judge Theiler’s Detention Order (Dkt. No. 158) is hereby AFFIRMED.

 7             C. Bernard Ortman

 8             Defendant Ortman has been indicted on one count of Violent Crime in Aid of Racketeering

 9   (Kidnapping) and one count of Conspiracy to Tamper with Witnesses. The Government contends that

10   Defendant Ortman orchestrated the kidnaping of the victim of the offense which is the subject of the first

11   count of the Indictment, ordering two people to take the individual at gunpoint. Further, the Government

12   alleges that, since the Indictment was filed, Defendant Ortman has threatened physical assaults against

13   others.

14             The Government contends that Defendant Ortman is the President of the Missoula, Montana

15   Chapter of the Bandidos organization, yet Defendant states he no longer holds that position. The

16   Indictment alleges that in this position, Defendant Ortman reports directly to the National and

17   International President, occupies a position of significant authority and control over members of the

18   Missoula Chapter and a related support club, and is responsible for enforcing a club policy that no other

19   competing outlaw motorcycle club establish a presence or a chapter in Montana.

20             Additionally, the Government proffers that a quantity of methamphetamine was found in

21   Defendant Ortman’s jacket in his home and argues that he is a heavy methamphetamine user. Defendant

22   states that the drugs did not belong to him and denies drug use. At the time of his arrest, agents

23   discovered four handguns in Defendant Ortman’s possession, two of which were loaded. Defendant

24   states that he is in legal possession of the firearms.

25             The Court finds that Defendant Ortman poses a risk of nonappearance due to his alleged drug

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 1   use. Additionally, he poses a risk of danger to the community due to the nature of the pending charges,

 2   possession of firearms, and alleged drug use. Accordingly, the Court finds that there is no condition or

 3   combination of conditions that will reasonably assure Defendant Ortman’s appearance at future Court

 4   hearings while addressing the danger he poses to the community. Magistrate Judge Theiler’s Detention

 5   Order (Dkt. No. 188) is hereby AFFIRMED.

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 7          SO ORDERED this 11th day of July, 2005.




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10                                                        UNITED STATES DISTRICT JUDGE

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26   ORDER – 4
